               Case 09-11586-JKC-13                                Doc 1             Filed 08/10/09                    EOD 08/10/09 14:25:37                         Pg 1 of 44
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                      Southern District of Indiana                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Leadford, Andrea Maron


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
  AKA Andrea Marion Torrence



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-9212
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  7956 Porsche Drive # D
  Indianapolis, IN
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     46268
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Marion
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000

Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
              Case 09-11586-JKC-13                       Doc 1            Filed 08/10/09           EOD 08/10/09 14:25:37                           Pg 2 of 44
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Leadford, Andrea Maron
(This page must be completed and filed in every case)
                    All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                         Case Number:                         Date Filed:
Where Filed: SOUTHERN DISTRICT OF INDIANA                         03-02917-JKC-7                        2/25/03
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X /s/ Darrell J. Dolan                                      August 10, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Darrell J. Dolan

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)                                                                                                                                               Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Leadford, Andrea Maron
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Andrea Maron Leadford                                                                   Signature of Foreign Representative
     Signature of Debtor Andrea Maron Leadford

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     August 10, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ Darrell J. Dolan                                                                        chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Darrell J. Dolan 16389-29                                                                debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Darrell J. Dolan, Attorney at Law
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      6525 E. 82nd Street, Suite 102
      Indianapolis, IN 46250                                                                   Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                             Email: attorneydolan@aol.com
      317-842-0022 Fax: 317-842-2216
     Telephone Number
     August 10, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
             Case 09-11586-JKC-13                              Doc 1           Filed 08/10/09   EOD 08/10/09 14:25:37   Pg 4 of 44
B 201 (12/08)

                                                         UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF INDIANA

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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B 201 (12/08)                                                                                                                                   Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Darrell J. Dolan                                                                         X /s/ Darrell J. Dolan                   August 10, 2009
Printed Name of Attorney                                                                    Signature of Attorney                  Date
Address:
6525 E. 82nd Street, Suite 102
Indianapolis, IN 46250
317-842-0022
attorneydolan@aol.com

                                                                               Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Andrea Maron Leadford                                                                    X /s/ Andrea Maron Leadford              August 10, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                    Date

 Case No. (if known)                                                                      X
                                                                                              Signature of Joint Debtor (if any)   Date




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
  In re          Andrea Maron Leadford                                                                                 Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                   13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                         0.00


B - Personal Property                                             Yes                 3                    3,600.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                            8,301.00


E - Creditors Holding Unsecured                                   Yes                 3                                            3,449.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 10                                          42,183.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                   1,186.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                      997.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            23


                                                                                Total Assets               3,600.00


                                                                                                 Total Liabilities                53,933.00




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
  In re           Andrea Maron Leadford                                                                                Case No.
                                                                                                            ,
                                                                                          Debtor
                                                                                                                       Chapter              13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                 205.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                    20,651.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                      20,856.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         1,186.00

              Average Expenses (from Schedule J, Line 18)                                                        997.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          1,186.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                   5,301.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                3,449.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            42,183.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        47,484.00




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B6A (Official Form 6A) (12/07)


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  In re          Andrea Maron Leadford                                                                              Case No.
                                                                                                           ,
                                                                                           Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                           Husband,    Current Value of
                                                                                 Nature of Debtor's         Wife,     Debtor's Interest in            Amount of
                 Description and Location of Property                            Interest in Property       Joint, or  Property, without             Secured Claim
                                                                                                          Community Deducting  any Secured
                                                                                                                      Claim or Exemption




                         None




                                                                                                            Sub-Total >               0.00          (Total of this page)

                                                                                                                Total >               0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                            (Report also on Summary of Schedules)
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                Case 09-11586-JKC-13                                Doc 1       Filed 08/10/09        EOD 08/10/09 14:25:37                  Pg 9 of 44
B6B (Official Form 6B) (12/07)


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  In re          Andrea Maron Leadford                                                                                  Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              cash                                                              -                           300.00

2.     Checking, savings or other financial                  X
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          household items                                                   -                           100.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          clothing                                                          -                           100.00

7.     Furs and jewelry.                                         jewelry                                                           -                           100.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >              600.00
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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               Case 09-11586-JKC-13                                Doc 1        Filed 08/10/09        EOD 08/10/09 14:25:37                  Pg 10 of 44
B6B (Official Form 6B) (12/07) - Cont.




  In re          Andrea Maron Leadford                                                                                   Case No.
                                                                                                             ,
                                                                                            Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                    Sub-Total >                  0.00
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Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Andrea Maron Leadford                                                                                   Case No.
                                                                                                             ,
                                                                                            Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   (Continuation Sheet)

                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1999 Ford Explorer                                                  -                       3,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                    Sub-Total >            3,000.00
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                                                                                                                                         Total >           3,600.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                                (Report also on Summary of Schedules)
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                Case 09-11586-JKC-13                                Doc 1          Filed 08/10/09       EOD 08/10/09 14:25:37               Pg 12 of 44
 B6C (Official Form 6C) (12/07)


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   In re          Andrea Maron Leadford                                                                                  Case No.
                                                                                                                ,
                                                                                               Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                  Value of            Current Value of
                    Description of Property                                               Each Exemption                      Claimed             Property Without
                                                                                                                             Exemption          Deducting Exemption
Cash on Hand
cash                                                                             Ind. Code § 34-55-10-2(c)(2)                        300.00                     300.00

Household Goods and Furnishings
household items                                                                  Ind. Code § 34-55-10-2(c)(2)                        100.00                     100.00

Wearing Apparel
clothing                                                                         Ind. Code § 34-55-10-2(c)(2)                        100.00                     100.00

Furs and Jewelry
jewelry                                                                          Ind. Code § 34-55-10-2(c)(2)                        100.00                     100.00

Automobiles, Trucks, Trailers, and Other Vehicles
1999 Ford Explorer                                                               Ind. Code § 34-55-10-2(c)(2)                            0.00                3,000.00




                                                                                                                Total:               600.00                  3,600.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                Case 09-11586-JKC-13                                Doc 1          Filed 08/10/09             EOD 08/10/09 14:25:37               Pg 13 of 44
 B6D (Official Form 6D) (12/07)


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   In re          Andrea Maron Leadford                                                                                          Case No.
                                                                                                                    ,
                                                                                                     Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                       I    Q   U                      PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                            G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                             2007                                                      E
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CNAC                                                                    Purchase Money Security
5050 W. 38th Street
Indianapolis, IN 46254                                                  1999 Ford Explorer
                                                                    -

                                                                         Value $                              3,000.00                         8,301.00              5,301.00
Account No.
                                                                         CNAC
Representing:                                                            12802 Hamilton Crossing
CNAC                                                                     Carmel, IN 46032



                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                          Subtotal
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_____ continuation sheets attached                                                                                                             8,301.00              5,301.00
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                                                                                                                             Total             8,301.00              5,301.00
                                                                                                   (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)


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  In re          Andrea Maron Leadford                                                                                    Case No.
                                                                                                              ,
                                                                                           Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                2   continuation sheets attached
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 B6E (Official Form 6E) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                   ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                           Wages, salaries, and commissions
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No.                                                             8/3/09                                                   E
                                                                                                                                 D

Darrell Dolan                                                           continuing legal services
6525 E. 82nd Street # 102                                                                                                                                   0.00
Indianapolis, IN 46250
                                                                    -

                                                                                                                                                3,244.00              3,244.00
Account No.




Account No.




Account No.




Account No.




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Sheet _____    2
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)            3,244.00              3,244.00




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 B6E (Official Form 6E) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                          Case No.
                                                                                                                    ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
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IRS                                                                     federal tax debt
PO Box 21126                                                                                                                                                 0.00
Philadelphia, PA 19114
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Account No.




Account No.




Account No.




Account No.




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            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)              205.00                205.00
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)              3,449.00              3,449.00

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 B6F (Official Form 6F) (12/07)


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   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor


                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No. 2074                                                                          living expenses                                      T   T
                                                                                                                                                   E
                                                                                                                                                   D

Aspire
PO Box 23007                                                                         -
Columbus, GA 31902-3007

                                                                                                                                                                          1,262.00
Account No.                                                                               Midland Credit
                                                                                          8875 Aero Dr # 2
Representing:                                                                             San Diego, CA 92123
Aspire




Account No. 3074                                                                          utility services

AT&T
PO Box 8212                                                                          -
Aurora, IL 60572-8212

                                                                                                                                                                            202.00
Account No.                                                                               Collection Co America
                                                                                          700 Longwater Dr
Representing:                                                                             Norwell, MA 02061-1624
AT&T




                                                                                                                                             Subtotal
 9
_____ continuation sheets attached                                                                                                                                        1,464.00
                                                                                                                                   (Total of this page)




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                Case 09-11586-JKC-13                                Doc 1                Filed 08/10/09               EOD 08/10/09 14:25:37        Pg 18 of 44
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                               educational services                                     E
                                                                                                                                                   D

Ball State University
2000 W. University                                                                   -
Muncie, IN 47306

                                                                                                                                                                       2,745.00
Account No. 1880                                                                          cable services

Bright House Ntwk
3030 Roosevelt Ave                                                                   -
Indianapolis, IN 46218-3755

                                                                                                                                                                         255.00
Account No.                                                                               Credit Management
                                                                                          4200 International Pkwy
Representing:                                                                             Carrollton, TX 75007
Bright House Ntwk




Account No. 8256                                                                          insurance coverage

Bristol West Insuarnce
9100 Keystone Xing                                                                   -
Indianapolis, IN 46240

                                                                                                                                                                           53.00
Account No.                                                                               Lamont Hanley & Assoc
                                                                                          1138 Elm St
Representing:                                                                             Manchester, NH 03101
Bristol West Insuarnce




           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       3,053.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                Case 09-11586-JKC-13                                Doc 1                Filed 08/10/09               EOD 08/10/09 14:25:37        Pg 19 of 44
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                             (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. 4709                                                                          2007                                                     E
                                                                                          utility services                                         D

Citizens Gas
2020 N. Meridian St                                                                  -
Indianapolis, IN 46202

                                                                                                                                                                         607.00
Account No.                                                                               Central Collection
                                                                                          7510 S. Madison Ave
Representing:
                                                                                          Indianapolis, IN 46227
Citizens Gas




Account No. 7634                                                                          cable services

Comcast
5330 E. 65th Street                                                                  -
Indianapolis, IN 46220-4821

                                                                                                                                                                         577.00
Account No.                                                                               Credit Management
                                                                                          4200 International Pkwy
Representing:                                                                             Carrollton, TX 75007
Comcast




Account No. xxKxxxxxxSC4340                                                               living expenses

Concord Eagle Creek Homes
3125 Concord Ct                                                                      -
Indianapolis, IN 46222

                                                                                                                                                                       1,040.00

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       2,224.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                Case 09-11586-JKC-13                                Doc 1                Filed 08/10/09               EOD 08/10/09 14:25:37        Pg 20 of 44
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                             E   D   D
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                                                                                                                                               T   T
Account No.                                                                               Wayne Twnsp SC-0706SC4340                                E
                                                                                          5401 W. Washington St                                    D
Representing:
Concord Eagle Creek Homes                                                                 Indianapolis, IN 46241




Account No.                                                                               broken lease

Courtyard @ Kessler
3035 W. 39th Street                                                                  -
Indianapolis, IN 46228

                                                                                                                                                                         215.00
Account No.                                                                               AUM
                                                                                          PO Box 6436
Representing:                                                                             Carol Stream, IL 60197-6435
Courtyard @ Kessler




Account No.                                                                               National Credit
                                                                                          PO Box 312125
Representing:                                                                             Atlanta, GA 31131-2125
Courtyard @ Kessler




Account No. 9086                                                                          living expenses

First Premier
801 S. Minnesota Ave                                                                 -
Sioux Falls, SD 57104

                                                                                                                                                                         735.00

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
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                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                               AFS International                                        E
                                                                                          640 Plaza Drive # 300                                    D
Representing:
First Premier                                                                             Littleton, CO 80129




Account No.                                                                               Northland Group
                                                                                          PO Box 390846
Representing:
                                                                                          Edina, MN 55439
First Premier




Account No. 1832                                                                          living expenses

Forum Credit Union
11313 USA Pkwy                                                                       -
Fishers, IN 46038

                                                                                                                                                                       1,420.00
Account No.                                                                               IMC
                                                                                          PO Box 20636
Representing:                                                                             Indianapolis, IN 46220-0636
Forum Credit Union




Account No. 6835                                                                          gym membership

Golds Gym
7140 E. Washington St                                                                -
Indianapolis, IN 46219

                                                                                                                                                                         985.00

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       2,405.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                         C   U   D
                    CREDITOR'S NAME,                                             O                                                              O   N   I
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                   (See instructions above.)                                     R                                                              E   D   D
                                                                                                                                                N   A
                                                                                                                                                T   T
Account No.                                                                               SRL & Assoc                                               E
                                                                                          PO Box 508                                                D
Representing:
Golds Gym                                                                                 Draper, UT 84020-0508




Account No.                                                                               deficiency after repossession of 1999 Ford Escort
                                                                                          repossessed in 2007
Indiana Finance
PO Box 49                                                                            -
Anderson, IN 46015

                                                                                                                                                                        5,031.00
Account No.                                                                               2008
                                                                                          utility services @ 3025 W. 39th Street.
IPL
PO Box 110                                                                           -
Indianapolis, IN 46206

                                                                                                                                                                          180.00
Account No.                                                                               broken lease

Kessler Garden
5480 Michigan Road                                                                   -
Indianapolis, IN 46228

                                                                                                                                                                        1,500.00
Account No. 1847                                                                          living expenses

Paige's Music
5282 E. 65th Street                                                                  -
Indianapolis, IN 46220

                                                                                                                                                                          713.00

           5
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                        7,424.00
Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                               Statewide Credit Assn                                    E
                                                                                          6640 Intech Blvd # 200                                   D
Representing:
Paige's Music                                                                             Indianapolis, IN 46278




Account No. xxKxxxxxxSC5369                                                               broken lease

Pickwick Farms LLC
59 Port O'Call Dr                                                                    -
Indianapolis, IN 46224

                                                                                                                                                                       1,726.00
Account No.                                                                               Washington Twsp SC-0512SC5369
                                                                                          2184 E. 54th Street
Representing:                                                                             Indianapolis, IN 46220
Pickwick Farms LLC




Account No.                                                                               student loan

Sallie Mae
PO Box 9500                                                                          -
Wilkes Barre, PA 18773

                                                                                                                                                                       4,306.00
Account No. mult                                                                          medical services

St Vin ER Phys
4685 Reliable Pkwy                                                                   -
Chicago, IL 60686-0001

                                                                                                                                                                         129.00

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       6,161.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                               IMC                                                      E
                                                                                          PO Box 20636                                             D
Representing:
St Vin ER Phys                                                                            Indianapolis, IN 46220-0636




Account No. mult                                                                          medical services

ST Vincent Hosp
PO Box 40970                                                                         -
Indianapolis, IN 46240

                                                                                                                                                                         275.00
Account No.                                                                               Senex Services
                                                                                          3500 Depauw Blvd
Representing:                                                                             Indianapolis, IN 46268
ST Vincent Hosp




Account No. mult                                                                          medical services

St Vincent Phys Svc
9678 Reliable Pkwy                                                                   -
Chicago, IL 60686-0096

                                                                                                                                                                         310.00
Account No.                                                                               Alliance One
                                                                                          4850 E. Street Road # 300
Representing:                                                                             Feasterville Trevose, PA 19053
St Vincent Phys Svc




           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                         585.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                         Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                               CBCS                                                     E
                                                                                          PO Box 163279                                            D
Representing:
St Vincent Phys Svc                                                                       Columbus, OH 43216-1838




Account No. xxKxxxxxxSCx3868                                                              collection

Statewide Credit
PO Box 781268                                                                        -
Indianapolis, IN 46278

                                                                                                                                                                         775.00
Account No.                                                                               Franklin Twnsp SC-0807SC03868
                                                                                          4531 Independance Sq
Representing:                                                                             Indianapolis, IN 46203
Statewide Credit




Account No.                                                                               storage unit

U-Store-It
8270 N. Michigan Road                                                                -
Indianapolis, IN 46268

                                                                                                                                                                         205.00
Account No. mult                                                                          medical services

University ER Medicine
PO Box 633542                                                                        -
Cincinnati, OH 45263-3542

                                                                                                                                                                         151.00

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                       1,131.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Andrea Maron Leadford                                                                                             Case No.
                                                                                                                           ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                               Med Shield                                                    E
                                                                                          PO Box 55707                                                  D
Representing:
University ER Medicine                                                                    Indianapolis, IN 46205




Account No.                                                                               student loan

US Dept of Education
PO Box 8422                                                                          -
Chicago, IL 60605

                                                                                                                                                                          16,345.00
Account No. 908P                                                                          living expenses

Westview Healthplex Sports Club
3660 Guion Road                                                                      -
Indianapolis, IN 46222

                                                                                                                                                                                80.00
Account No. mult                                                                          medical services

Wishard Hospital
1001 W. 10th Street                                                                  -
Indianapolis, IN 46202

                                                                                                                                                                              361.00
Account No.                                                                               Med Shield
                                                                                          PO Box 55707
Representing:                                                                             Indianapolis, IN 46205
Wishard Hospital




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                          16,786.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                42,183.00


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B6G (Official Form 6G) (12/07)


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  In re             Andrea Maron Leadford                                                                           Case No.
                                                                                                         ,
                                                                                         Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                          Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                               State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                     State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Andrea Maron Leadford                                                                      Case No.
                                                                                                      ,
                                                                                         Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

 In re    Andrea Maron Leadford                                                                         Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Separated                              Daughter                                                    14
                                             Son                                                         5
Employment:                                              DEBTOR                                                    SPOUSE
Occupation                                           dob 1976
Name of Employer                     Unemployed
How long employed                    since 8/08
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             0.00       $             0.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):           Monthly unemployment                                                                $         1,186.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,186.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,186.00       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              1,186.00
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         *Debtor's unemployement runs out end of December 2009 / trying to get support
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B6J (Official Form 6J) (12/07)

 In re    Andrea Maron Leadford                                                               Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                   200.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    50.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                     0.00
                   d. Other                                                                                 $                     0.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   300.00
5. Clothing                                                                                                 $                   100.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                     0.00
8. Transportation (not including car payments)                                                              $                   100.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   127.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other student loan                                                                    $                   120.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                   997.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Debtor lives w/ Mother / shares expenses
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 1,186.00
b. Average monthly expenses from Line 18 above                                                              $                   997.00
c. Monthly net income (a. minus b.)                                                                         $                   189.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
 In re       Andrea Maron Leadford                                                                                   Case No.
                                                                                             Debtor(s)               Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                25       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 10, 2009                                                           Signature    /s/ Andrea Maron Leadford
                                                                                             Andrea Maron Leadford
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
 In re       Andrea Maron Leadford                                                                                  Case No.
                                                                                             Debtor(s)              Chapter    13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $1.00                                    2009 YTD: Debtor
                           $9,522.00                                2008: Debtor Community Action / Charming Shoppes / Wright Employment Agency
                           $16,000.00                               2007: Debtor Community Action / Catherines




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                                                                                                                                                                2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $1,186.00                                Monthly Unemployement

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                              AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                         AMOUNT PAID            OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                           AMOUNT
                                                                                   DATES OF                                 PAID OR
                                                                                   PAYMENTS/                              VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                             TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                        AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                  AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY               STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                  DISPOSITION
 Pickwick Farms LLC vs                           collection                                  MC/SC Washington Township     pending judgment
 Andrea Leadford
 49K070512SC5369
 Concord Eagle Creek Homes                       collection                                  MC/SC Wayne Township          pending judgment
 vs Andrea Leadford
 49K080706SC4340




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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
      OF PAYEE                                                                           THAN DEBTOR                           OF PROPERTY
 Darrell J. Dolan, Attorney at Law                                                8/3/09                               $256.00
 6525 E. 82nd Street, Suite 102
 Indianapolis, IN 46250

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                         AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF            VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)           IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS               SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF




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                                                                                                                                                             5

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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                                                                                                                                                                      6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                                   BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                         NATURE OF BUSINESS            ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS



                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date August 10, 2009                                                           Signature    /s/ Andrea Maron Leadford
                                                                                             Andrea Maron Leadford
                                                                                             Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                          Southern District of Indiana
 In re       Andrea Maron Leadford                                                                                     Case No.
                                                                                            Debtor(s)                  Chapter    13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                          $               3,500.00
              Prior to the filing of this statement I have received                                                $                   256.00
              Balance Due                                                                                          $               3,244.00

2.     The source of the compensation paid to me was:
                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               For Chapter 13 cases only - All items required by the Local RIGHTS AND RESPONSIBILITIES

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               FOR ALL CHAPTER 13 CASES: Refer to items required by LOCAL RIGHTS & RESPONSIBILITIES filed in Chapter 13
               Cases.
               FOR ALL CHAPTER 7 CASES : Representation of the debtors in any dischargeability actions, judicial lien avoidances,
               relief from stay actions or any other adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       August 10, 2009                                                               /s/ Darrell J. Dolan
                                                                                            Darrell J. Dolan
                                                                                            Darrell J. Dolan, Attorney at Law
                                                                                            6525 E. 82nd Street, Suite 102
                                                                                            Indianapolis, IN 46250
                                                                                            317-842-0022 Fax: 317-842-2216
                                                                                            attorneydolan@aol.com




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                                                                         United States Bankruptcy Court
                                                                                  Southern District of Indiana
  In re       Andrea Maron Leadford                                                                                   Case No.
                                                                                               Debtor(s)              Chapter    13



        RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

        It is important for debtors who file a bankruptcy case under Chapter 13 to understand their rights and
responsibilities. It is also important that debtors know what their attorney's responsibilities are and understand
the importance of communicating with their attorney to make the case successful. Debtors should also know
that they may expect certain services to be performed by their attorney. In order to assure that debtors and
attorneys understand their rights and responsibilities in the bankruptcy process, the following guidelines
provided by the Court are hereby agreed to by the debtors and their attorney.

BEFORE THE CASE IS FILED

The debtor agrees to:
              1.            Provide the attorney with complete, accurate and current financial information.
              2.            Discuss with the attorney the debtor's objectives in filing the case.
              3.            Disclose any previous bankruptcies filed in the previous 8 years.
         4.     Unless excused under 11 U.S.C. § 109(h), receive a briefing from an approved nonprofit budget and
credit counseling agency and provide the attorney with a copy of the certificate from the agency showing such
attendance, as well as a copy of the debt repayment plan, if any, developed through the agency.
              5.            Disclose to the attorney any and all domestic support obligations.

The attorney agrees to:
              1.            Meet with the debtor to review the debtor's debts, assets, liabilities, income and expenses.
        2.      Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case, provide
debtor with the notice required under 11 U.S.C. § 342(b) if applicable, discuss both procedures with the debtor and
answer the debtor's questions.
         3.      Explain what payments will be made to creditors directly by the debtor and what payments will be made
through the Chapter 13 plan, with particular attention to mortgage and vehicle loan payments, any other debts that accrue
interest, domestic support obligations and leases.
         4.      Explain to the debtor how, when and where to make payments, pursuant to the plan, to the Chapter 13
trustee and of the necessity to include the debtor's case number, name and current address on each payment item.
      5.       Explain to the debtor how the attorney and trustee's fees are paid and provide an executed copy of this
document to the debtor.
        6.       Explain to the debtor that the first payment due under Chapter 13 must be made to the trustee within 30
days of filing of the bankruptcy petition.
        7.       Advise the debtor of the requirement to attend the Section 341 Meeting of Creditors and instruct the
debtor as to the date, time and place of the meeting and of the necessity to bring both picture identification and proof of
the debtor's social security number to the meeting.
        8.       Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
leased vehicles or those securing loans, and of the obligation to bring copies of the declaration page(s) documenting such
insurance to the Meeting of Creditors.


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 Case Name: Andrea Maron Leadford                                                                Case No.

      9.       Advise debtors engaged in business of the necessity to maintain liability insurance, workers
compensation insurance, if required, and any other insurance coverage required by law.
      10.      Timely prepare and file the debtor's petition, plan, statements, schedules, and any other papers or
documents required under the Bankruptcy Code.

AFTER THE CASE IS FILED
              The debtor agrees to:
            1.      Timely make all required payments to the Chapter 13 trustee that first become due 30 days after the case
       is filed. Also, if required, turn over any tax refunds, personal injury settlement proceeds or any other property as
       requested by the trustee.
           2.       Timely make all post-petition payments due to mortgage lenders, holders of domestic support
       obligations, lessors, and any other creditor that debtor agreed or is obligated to pay directly.
              3.            Cooperate with the attorney in the preparation of all pleadings and attend all hearings as required.
          4.                Keep the trustee, attorney, and Court informed of any changes to the debtor's address and telephone
       number.
              5.            Prepare and file any and all federal, state and local tax returns within 30 days of filing the petition.
           6.        Inform the attorney of any wage garnishments or attachments of assets which occur or continue to occur
       after the filing of the case.
           7.      Contact the attorney promptly with any information regarding changes in employment, increases or
       decreases in income or other financial problems or changes.
           8.     Contact the attorney promptly if the debtor acquires any property after the petition is filed. Such
       property might include, but is not limited to, personal injury proceeds, inheritances, lottery winnings, etc.
              9.            Inform the attorney if the debtor is sued during the case.
           10.     Inform the attorney if any tax refunds to which the debtors are entitled are seized or not returned to the
       debtor by the IRS, the Indiana Department of Revenue or any other taxing authority.
            11.    Contact the attorney to determine whether court approval is required before buying, refinancing or selling
       real property or before entering into any long-term loan agreement.
              12.           Pay any filing fees and courts costs directly to the attorney.
           13.      If the requirements of 11 U.S.C. § 109(h) were waived by the Court when the case was first filed, receive
       a briefing from an approved nonprofit budget and credit counseling agency within 30 days of the case being filed
       (unless the Court, for cause, extends such time) and provide counsel with the certificate from the agency stating that
       the debtor attended such briefing.
           14.      Unless such attendance is excused under 11 U.S.C. § 1328(f), complete an instructional course
       concerning personal financial management and shall promptly submit to the debtor's attorney a signed and completed
       Certification of Completion of Instruction Course Concerning Personal Financial Management.
              15.           Cooperate fully with any audit conducted pursuant to 28 U.S.C. § 586(a).
           16.     After all plan payments have been made, and if the debtor is eligible for a discharge, timely provide
       counsel with the information needed to complete any documents required by the Court before a discharge will be
       entered.

              The attorney agrees to provide the following legal services:
              1.            Appear at the Section 341 Meeting of Creditors with the debtor.

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              2.            Respond to objections to plan confirmation and, where necessary, prepare an amended plan.
           3.      Timely submit properly documented profit and loss statements, tax returns and proof of income when
       requested by the trustee.
              4.            Prepare, file and serve necessary modifications to the plan.
           5.     Prepare, file and serve necessary amended statements and schedules, in accordance with information
       provided by the debtor.
              6.            Prepare, file and serve necessary motions to buy, sell or refinance property when appropriate.
           7.               Object to improper or invalid claims, if necessary, based upon documentation provided by the debtor or
       trustee.
              8.            Represent the debtor in motions for relief from stay and motions to dismiss and/or convert.
              9.            Where appropriate, prepare, file, serve and notice motions to avoid liens on real or personal property.
              10.           Be available to respond to debtor's questions throughout the life of the plan.
           11.     Negotiate with any creditor holding a claim against the debtor that is potentially nondischargeable to
       determine if the matter can be resolved prior to litigation. Discuss with debtor the cost and advisability of litigating
       the dischargeability of the claim. The attorney is not required, however, to represent the debtor in any adversary
       proceeding to determine the nondischargeability of any debt pursuant to these Rights and Responsibilities.
           12.     Represent the debtor with respect to any audit conducted pursuant to 28 U.S.C. § 586(a).
           13.     After all plan payments have been made, and if the debtor is eligible for a discharge, prepare, file and
       serve any documents required by the Court before a discharge will be entered.

         The total fee charged in this case is $ 3,500.00 . If this fee later proves to be insufficient to compensate the
attorney for the legal services rendered in the case, the attorney has the right to apply to the court for any additional
attorney fees. Fees shall be paid through the plan unless otherwise ordered. The attorney may not receive additional fees
directly from the debtor other than the initial retainer. If an attorney has elected to be compensated pursuant to these
guidelines, but the case is dismissed or converted prior to confirmation of the plan, absent contrary order, the trustee shall
pay to the attorney, to the extent funds are available, an administrative claim equal to 50% of the unpaid fee balance if a
properly documented fee claim (for the entire fee balance) has been filed by the attorney and served upon the trustee.

        If the debtor disputes the legal services provided or the fees charged by the attorney, an objection must be filed
with the Court.



 Dated:          August 10, 2009                                                             /s/ Andrea Maron Leadford
                                                                                             Andrea Maron Leadford
                                                                                             Debtor

 Dated:          August 10, 2009                                                             /s/ Darrell J. Dolan
                                                                                             Darrell J. Dolan
                                                                                             Attorney for Debtor(s)




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                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      August 10, 2009                                                     /s/ Andrea Maron Leadford
                                                                                Andrea Maron Leadford
                                                                                Signature of Debtor




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                                                                          Leadford, Andrea -

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AFS International                  Alliance One                           Aspire
640 Plaza Drive # 300              4850 E. Street Road # 300              PO Box 23007
Littleton, CO 80129                Feasterville Trevose, PA 19053         Columbus, GA 31902-3007




AT&T                               AUM                                    Ball State University
PO Box 8212                        PO Box 6436                            2000 W. University
Aurora, IL 60572-8212              Carol Stream, IL 60197-6435            Muncie, IN 47306




Bright House Ntwk                  Bristol West Insuarnce                 CBCS
3030 Roosevelt Ave                 9100 Keystone Xing                     PO Box 163279
Indianapolis, IN 46218-3755        Indianapolis, IN 46240                 Columbus, OH 43216-1838




Central Collection                 Citizens Gas                           CNAC
7510 S. Madison Ave                2020 N. Meridian St                    5050 W. 38th Street
Indianapolis, IN 46227             Indianapolis, IN 46202                 Indianapolis, IN 46254




CNAC                               Collection Co America                  Comcast
12802 Hamilton Crossing            700 Longwater Dr                       5330 E. 65th Street
Carmel, IN 46032                   Norwell, MA 02061-1624                 Indianapolis, IN 46220-4821




Concord Eagle Creek Homes          Courtyard @ Kessler                    Credit Management
3125 Concord Ct                    3035 W. 39th Street                    4200 International Pkwy
Indianapolis, IN 46222             Indianapolis, IN 46228                 Carrollton, TX 75007




Darrell Dolan                      First Premier                          Forum Credit Union
6525 E. 82nd Street # 102          801 S. Minnesota Ave                   11313 USA Pkwy
Indianapolis, IN 46250             Sioux Falls, SD 57104                  Fishers, IN 46038




Franklin Twnsp SC-0807SC03868      Golds Gym                              IMC
4531 Independance Sq               7140 E. Washington St                  PO Box 20636
Indianapolis, IN 46203             Indianapolis, IN 46219                 Indianapolis, IN 46220-0636




Indiana Finance                    IPL                                    IRS
PO Box 49                          PO Box 110                             PO Box 21126
Anderson, IN 46015                 Indianapolis, IN 46206                 Philadelphia, PA 19114
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                                     Leadford, Andrea -



Kessler Garden                       Lamont Hanley & Assoc                  Med Shield
5480 Michigan Road                   1138 Elm St                            PO Box 55707
Indianapolis, IN 46228               Manchester, NH 03101                   Indianapolis, IN 46205




Midland Credit                       National Credit                        Northland Group
8875 Aero Dr # 2                     PO Box 312125                          PO Box 390846
San Diego, CA 92123                  Atlanta, GA 31131-2125                 Edina, MN 55439




Paige's Music                        Pickwick Farms LLC                     Sallie Mae
5282 E. 65th Street                  59 Port O'Call Dr                      PO Box 9500
Indianapolis, IN 46220               Indianapolis, IN 46224                 Wilkes Barre, PA 18773




Senex Services                       SRL & Assoc                            St Vin ER Phys
3500 Depauw Blvd                     PO Box 508                             4685 Reliable Pkwy
Indianapolis, IN 46268               Draper, UT 84020-0508                  Chicago, IL 60686-0001




ST Vincent Hosp                      St Vincent Phys Svc                    Statewide Credit
PO Box 40970                         9678 Reliable Pkwy                     PO Box 781268
Indianapolis, IN 46240               Chicago, IL 60686-0096                 Indianapolis, IN 46278




Statewide Credit Assn                U-Store-It                             University ER Medicine
6640 Intech Blvd # 200               8270 N. Michigan Road                  PO Box 633542
Indianapolis, IN 46278               Indianapolis, IN 46268                 Cincinnati, OH 45263-3542




US Dept of Education                 Washington Twsp SC-0512SC5369          Wayne Twnsp SC-0706SC4340
PO Box 8422                          2184 E. 54th Street                    5401 W. Washington St
Chicago, IL 60605                    Indianapolis, IN 46220                 Indianapolis, IN 46241




Westview Healthplex Sports Club      Wishard Hospital
3660 Guion Road                      1001 W. 10th Street
Indianapolis, IN 46222               Indianapolis, IN 46202
